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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA

                             ATLANTA DIVISION

UNITED STATES OF AMERICA              )
                                      )
            vs.                       )     CRIMINAL ACTION
                                      )     NO. 1:21-CR-310-SDG-LTW
DAWUAN WILLIAMS                       )

                       WITHDRAWAL OF MOTION

      Comes now the Defendant, DAWUAN WILLIAMS, by and through

undersigned counsel, and withdraws docket entry number 33, Preliminary Motion to

Suppress Evidence. Docket entry 33 is a duplicate of docket entry 32. Undersigned

counsel intended to file a motion to suppress identification testimony instead of a

duplicate of docket entry number 32. Undersigned counsel will proceed to file the

motion to suppress identification testimony on Mr. Williams’s behalf.

      Dated: This 24th day of September, 2021.

                                      Respectfully submitted,

                                      /s/ Kendal Silas
                                      KENDAL SILAS
                                      State Bar No. 645959
                                      Attorney for DAWUAN WILLIAMS

Federal Defender Program, Inc.
Centennial Tower, Suite 1500
101 Marietta Street, N.W.
Atlanta, GA 30303
(404) 688-7530
Kendal_Silas@fd.org
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                         CERTIFICATE OF SERVICE

      This is to certify that the foregoing Withdrawal of Motion was electronically

filed this day with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to the following:

                            Theodore Hertzberg, Esq.
                            Assistant United States Attorney
                            600 Richard B. Russell Building
                            75 Ted Turner Drive, S.W.
                            Atlanta, Georgia 30303

      DATED: This 24th day of September, 2021.

                                       /s/ Kendal Silas
                                       KENDAL SILAS
                                       State Bar No. 645959
                                       Attorney for DAWUAN WILLIAMS
